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                                                                      November 27, 2017

BY EMAIL
Honorable James L. Garrity
United States Bankruptcy Judge
One Bowling Green
New York, NY 10004-1408

                 Re:      Cocoletzi et al v. Orly
                          No. 15-11650 (JLG); Adversary Proceeding No. 16-01020 (JLG)

Dear Judge Garrity:

          I respectfully request an adjournment by approximately 60 to 90 days of the status

conference scheduled for tomorrow, November 28, 2017. Defendant Amir Orly consents to this

request

          As alluded to in my adversary Linda Tirelli’s letter filed earlier today, there have been no

changes in the status of the action pending in the U.S. District Court for the Southern District of

New York that relates to this adversary proceeding. Accordingly, the parties believe that the status

conference scheduled for tomorrow would be a waste of the Court’s and counsel’s time.

          We thank the Court for its attention to this matter.


                                                             Respectfully Submitted,

                                                             /s/ Joshua S. Androphy


cc:       Linda Tirelli, Esq.
          Attorney for Amir Orly
          (via email)




                          Certified as a minority-owned business in the State of New York
